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                IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAI‘I

PLAINTIFFS CARA BARBER,                    CIVIL NO. 14-00217 HG-KSC
MELISSA JONES, MELISSA
STREETER, KATIE ECKROTH, BOB               DEFENDANTS OHANA
BARBER, TIM JONES, AND RYAN                MILITARY COMMUNITIES, LLC
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ECKROTH, On Behalf of Themselves         AND FOREST CITY
and All Others Similarly Situated,       RESIDENTIAL MANAGEMENT,
                                         LLC’S MEMORANDUM IN
                  Class Plaintiffs,      OPPOSITION TO PLAINTIFF
                                         CARA BARBER’S MOTION TO
      vs.
                                         DISMISS DEFENDANTS’ MOTION
                                         FOR PRELIMINARY INJUNCTION
OHANA MILITARY COMMUNITIES,              AND ORDER TO SHOW CAUSE
LLC, FOREST CITY RESIDENTIAL             RE VIOLATIONS OF THE
MANAGEMENT, INC.; and DOE                PARTIES’ SETTLEMENT
Defendants 1-10,                         AGREEMENT; CERTIFICATE OF
                  Defendants.            COMPLIANCE; DECLARATION
                                         OF RANDALL C. WHATTOFF;
                                         EXHIBITS A-I; PRELIMINARY
                                         INJUNCTION HEARING
                                         EXHIBITS 6-13, Q; CERTIFICATE
                                         OF SERVICE
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 DEFENDANTS OHANA MILITARY COMMUNITIES, LLC AND FOREST
   CITY RESIDENTIAL MANAGEMENT, LLC’S MEMORANDUM IN
 OPPOSITION TO PLAINTIFF CARA BARBER’S MOTION TO DISMISS

I.    INTRODUCTION

             Plaintiff Cara Barber’s entire motion is premised on a clear mistake of

law: her contention that a party cannot simultaneously seek injunctive and

monetary relief. Indeed, Ms. Barber baldly asserts that “[b]lackletter law confirms

that a party cannot seek a preliminary injunction in one court claiming irreparable

harm while simultaneously pursuing damages in a second court for the same

conduct.” Memo. at 1. “Blackletter law” confirms no such thing. To the contrary,

parties regularly seek injunctive relief and damages based on the same underlying

conduct. This should be no surprise to Ms. Barber and her counsel, as they sought

both forms of relief in Ms. Barber’s “Second Amended Class Action Complaint for

Damages & Injunctive Relief.” Indeed, Ms. Barber sought “[g]eneral, special,

treble, and consequential damages,” and “[p]reliminary and permanent injunctive

relief to require Defendants to” investigate purported “chemical contamination,”

provide warnings to “past and present tenants,” and “[e]njoin Defendants’ lease of

any residential property.” Sec. Am. Class Action Compl. for Damages & Inj.

Relief at 34–35 (Dkt. 76).

             Unsurprisingly, Ms. Barber cites no case law holding that a party may

not maintain simultaneous actions for injunctive and monetary relief. Rather, she
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focuses on cases generally discussing the standard for establishing irreparable

harm, and relies upon the general rule that economic injury alone is usually not

enough to support injunctive relief. Ms. Barber then leaps to the conclusion that a

request for economic damages forecloses injunctive relief and the ability to prove

irreparable harm. This logical leap is directly contradicted by the case law.

             Ms. Barber’s conduct here plainly supports a finding of irreparable

harm. Shortly after the parties’ settlement agreement was finalized, Ms. Barber

and her attorneys launched an all-out smear campaign to recruit new clients to file

new lawsuits against Defendants. The effort was driven by Ms. Barber’s social

media efforts, which spanned numerous platforms including her blog, Facebook,

and a newly launched standalone website. Ms. Barber’s statements on these

platforms were wildly false and misleading. Among the scores of false and

disparaging statements, Ms. Barber claimed:

             • Defendants failed to remove 18 inches of contaminated soil before
               building hundreds of homes at Marine Corps Base Hawai‘i
               (“MCBH”) because to do so would be too expensive;

             • Defendants exposed MCBH residents to pesticide levels at least
               “20 times higher than EPA safety recommendations”;

             • Defendants exposed residents to “some of the most toxic . . .
               chemicals known to man”;

             • “[L]iving in these contaminated neighborhoods exposes residents,
               your children and pets to much higher lifetime rates of cancer and
               many other diseases”; and



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              • Defendants committed “multiple, flagrant violations of public
                health and environmental laws, rules, and regulations” and that
                “these violations have and continue to expose thousands of
                military children and families to significantly increased health
                risks.”

 Ms. Barber does not even attempt to explain how these statements—which must be

 deemed false for the purposes of a motion to dismiss—would not constitute

 irreparable harm.

              The recent briefing before the Ninth Circuit is instructive. In the most

 recent appeal, Ms. Barber took the position that the first appeal established that

 Ms. Barber’s statements in violation of the non-disparagement provision could not

 constitute irreparable harm. Defendants argued that the first appeal only addressed

 Ms. Barber’s statements in violation of the confidentiality provision, and that there

 was substantial evidence that the statements in violation of the non-disparagement

 provision—which were much more extensive and egregious—caused irreparable

 harm. The evidence of irreparable harm included (1) Hawai‘i law, which

 establishes a legal presumption of irreparable harm for statements like those made

 by Ms. Barber; (2) the content of the statement themselves, which, among other

 things, imputed criminal wrongdoing to Defendants; and (3) the direct evidence of

 harm established by the responses of Ms. Barber’s followers on social media. The

 Ninth Circuit granted the appeal, implicitly finding that there was sufficient

 evidence of irreparable harm for the preliminary injunction motion to proceed.



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              There is no basis for Ms. Barber’s newest Motion to Dismiss

 (“MTD”). It should be denied so that the parties can complete the testimony of the

 sole remaining witness, and this Court can then issue a decision on the merits of

 the preliminary injunction motion.

 II.   FACTUAL AND PROCEDURAL BACKGROUND

       A.     The Settlement Agreement

              In April 2014, Ms. Barber and three other current and former residents

 of MCBH filed this case claiming that Defendants failed to disclose the existence

 of unsafe levels of organ-chlorinated pesticides (“OCPs”) in the soils around the

 homes at MCBH. See Compl. (Dkt. 1-4). The case was filed as a putative class

 action, but after a year and a half of litigation, the magistrate judge issued Findings

 and Recommendations to Deny Plaintiffs’ Renewed Motion for Class Certification

 (Dkt. 253). The parties thereafter participated in two settlement conferences, and

 the case was settled in February 2016. See PI Ex. P (Dkt. 290).1 Under

 paragraph 4 of the settlement agreement, the parties agreed to a strict

 confidentiality provision. See id. Paragraph 6 prohibited Ms. Barber from




 1
   The exhibits used at the evidentiary hearing on Plaintiffs’ Motion for Preliminary
 Injunction and Order to Show Cause Re: Violations of the Parties’ Settlement
 Agreement (Dkt. 278) (“PI Motion”) are referred to herein as “PI Ex.” For the
 Court’s convenience, the exhibits from the PI Motion hearing are being
 resubmitted herewith, except for the settlement agreement, which was sealed.


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 participating in future lawsuits. See id. And Paragraph 7 contained a non-

 disparagement provision. See id.

       B.     The Solicitation Campaign

              Almost immediately after the settlement agreement was signed,

 Ms. Barber and her attorneys began preparations for a new solicitation campaign to

 drive clients to her attorneys and promote new lawsuits against Defendants. See

 Mot. to Disqualify Counsel and/or for Sanctions at 9–11, 13–16 (“DQ Motion”)

 (Dkt. 394). The new solicitation campaign had two main components. On the one

 hand, the attorneys sent a solicitation letter to hundreds of individuals who had

 submitted their information to Ms. Barber through a highly misleading

 questionnaire. See PI Ex. Q. At the same time, Ms. Barber launched an all-out

 smear campaign encouraging individuals to respond to the solicitation letter.

 Ms. Barber’s social media campaign included frequent posts across her various

 social media platforms, virtually every one of which posts contained false and

 disparaging statements about Defendants.

              1.    Blog

              On Ms. Barber’s blog, she frequently drafted lengthy posts that

 included charts, photographs, and diagrams. See PI Ex. 6 at 1–78 (Dkt. 322).

 According to the statistics displayed on the blog, Ms. Barber’s blog had “1,583

 followers” who “[g]et every new post delivered to [their] inbox.” See PI Ex. 6



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 at 78 (Dkt. 322).2 Furthermore, Ms. Barber admitted that the blog could be easily

 found through Google searches and that Ms. Barber often linked to her blog posts

 on her Facebook page. See Ex. A at 14–15 (Dkt. 323); Ex. B 82–83 (Dkt. 327).

              The blog entries contain so many false and disparaging statements that

 it is impractical to catalog them all here. As an example, on May 13, 2016,

 Ms. Barber drafted a new blog entry titled “Is the soil still contaminated? Has the

 contamination been remediated? What are current contamination levels?” In that

 single blog entry, Ms. Barber made the following false and disparaging statements:

              • “[O]rganochlorine pesticides [are] some of the most toxic . . .
                chemicals known to man. Results confirmed these extremely
                hazardous chemicals and carcinogens were present in
                neighborhood soils at levels that pose serious health and
                exposure risks to resident families.” PI Ex. 6 at 31 (Dkt. 322)
                (emphasis original).

              • “To ensure new housing and neighborhoods developed were safe
                for military families, 18 inches of highly contaminated topsoil
                needed to be removed from these neighborhoods spanning
                hundreds of acres. And all the soil removed had to be replaced
                with ‘clean fill’ before thousands of new homes could be built.
                Apparently, FC/OMC deemed this means of resolution to the
                contamination problem too costly and time consuming, as it
                would’ve cost tens of millions of dollars and likely caused
                significant project delays. So FC/OMC proposed a different
 2
   At the evidentiary hearing, Ms. Barber claimed that this number was incorrect
 and that she really only had “one follower,” but she could provide no explanation
 for how the blog itself could list an incorrect number of followers. Moreover,
 Ms. Barber’s testimony was not credible, and we believe that the officially
 reported website statistics should control over Ms. Barber’s self-serving assertion.
 As the blog’s owner, Ms. Barber has complete access to the blog’s statistics, but
 she failed to produce any evidence on these issues at the evidentiary hearing.


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                  approach that could save them tens of millions of dollars and also
                  enable them to begin earning more BAH/rental income much
                  sooner.” Id. at 31–32.

              • “IF we assume, just as FC/OMC, MCBH, the Navy, NAVFAC,
                the Navy and Marine Corps Public Health Center and HDOH have,
                that planned remediation in these neighborhoods was effectively
                completed, then contamination levels are still around 20 times
                higher than EPA safety recommendations! That’s per
                FC/OMC’s own PLAN, as they never seriously considered
                removing or remediating ALL the contamination.” Id. at 33
                (emphasis original).

              • “When FC/OMC, MCBH, the Navy, Hunt and/or HDOH say,
                ‘Remediation was completed and the homes and neighborhoods
                are safe,” they’re really saying, ‘All we know is remediation was
                supposedly attempted and, IF 100% EFFECTIVE,
                contamination levels should not be more than 20 times higher
                than EPA safety recommendations.’” Id. at 33–34 (emphasis
                original).

              •    “At best, current contamination levels in redeveloped
                  neighborhoods are around 20 times higher than EPA safety
                  recommendations. At worst, contamination levels in any/all
                  neighborhoods could be hundreds of times higher.” Id. at 36
                  (emphasis original).

 Numerous blog entries contained similar—and even worse—statements. See, e.g.,

 Id. at 14 (claiming, among other false and disparaging statements, that Ohana

 committed “multiple, flagrant violations of public health and environmental laws,

 rules, and regulations” and that “these violations have and continue to expose

 thousands of military children and families to significantly increased health risks

 . . . .”); Id. at 3–4 (“MCBH and Pearl Harbor residents are exposed to significantly

 increased health and exposure risks. This includes much higher lifetime rates of


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 cancer and many other diseases including the following ADHD, Adverse Birth

 Outcome, Autism, Autoimmune, Cancer, Developmental Delays, Endocrine &

 Hormone, Liver & Kidney, Neurological, Reproductive, Respiratory.”). All of

 these statements are false.

              2.     Facebook

              Even before Ms. Barber began her current campaign in early May

 2016, her “MCBH Housing Issues” Facebook page had more than 1,500 followers;

 this number swelled to over 1,800 as the campaign progressed. See Ex. D at 23

 (Dkt. 338). Moreover, the Facebook page is a public page that can be viewed by

 anyone on the Internet. See id. at 24. At the time of the hearing, it was on the first

 page of Google search results related to MCBH housing. See id.

              As part of the solicitation campaign, Ms. Barber frequently posted on

 Facebook about what she called “some of the most hazardous chemicals known to

 man.” PI Ex. 7 at 5 (Dkt. 325-2). On a regular basis, Ms. Barber urged her

 followers to file new lawsuits against Defendants and to retain her attorneys. See,

 e.g., PI Ex. 8 at 1–2, 4–5 (Dkt. 325-3); PI Ex. 9 at 1, 12–13 (Dkt. 325-4); PI Ex. 10

 at 1–3 (Dkt. 325-5); PI Ex. 11 at 1 (Dkt. 325-6); PI Ex. 12 at 1 (Dkt. 325-7); PI

 Ex. 13 at 1 (Dkt. 325-8). On her Facebook page, Ms. Barber repeated her claim

 that Defendants failed to remove “18 inches of highly contaminated top soil”

 because they “deemed this means of resolution of the contamination problem too



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 costly and time-consuming.” PI Ex. 9 at 2 (Dkt. 325-4); PI Ex. 10 at 11 (Dkt. 325-

 5); Ex. A at 46–47 (Dkt. 323). Ms. Barber also repeated her claim that Defendants

 had exposed residents to levels that are at least 20 times greater that EPA safety

 recommendations. See PI Ex. 10 at 8 (Dkt. 325-5) (“Evidence (testing, etc.) proves

 that at the VERY LEAST, contamination levels are 20 TIMES HIGHER THAN

 EPA SAFETY RECOMMENDATIONS! There’s no doubt about any of that.”);

 see also PI Ex. 9 at 2, 9 (Dkt. 325-4); PI Ex. 10, at 12–13 (Dkt. 325-5). Ms. Barber

 admitted that she made similar statements “numerous times” “throughout [her]

 blog and [her] Facebook.” Ex. A at 93–94 (Dkt. 323). Again, all of these

 statements are false. On her Facebook page, Ms. Barber even went so far as to

 accuse Defendants of criminal violations: “Another idea Rebecca Leigh Johnson,

 might be to pressure the DA to pursue CRIMINAL CHARGES against them

 relative to all the laws, rules and regulations FC broke and Hunt continues to

 break.” PI Ex. 10 at 8 (Dkt. 325-5).

              3.    New Website

              As if her blog and Facebook posts were not enough, Ms. Barber

 created an entirely new, stand-alone website where she reposted and summarized

 her claims related to MCBH. See Ex. A at 41–42 (Dkt. 323). This website

 included the same claim that Defendants failed to remove 18-inches of soil from




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 underneath the homes, among other false and disparaging statements. See id. at

 47-48.

              4.    YouTube

              Ms. Barber testified that she spent a “couple weeks” creating an hour-

 long video about her MCBH claims. Id. at 41. Like her other postings, the public

 YouTube video directed viewers to contact her attorneys. See id. at 38–40. The

 YouTube video contained many of the same false and defamatory statements as

 Ms. Barber’s blog, Facebook page, and stand-alone website. See id. at 46–47.

       C.     The Preliminary Injunction Motion

              Defendants filed the PI Motion as soon as they learned of the social

 media campaign. The PI Motion argued that the social media campaign should be

 enjoined because it violated three provisions of the settlement agreement. See PI

 Mot. at 33–36. First, Ms. Barber’s numerous false statements about the conditions

 of MCBH violated the non-disparagement provision. See id. Second, Ms. Barber

 breached the confidentiality provision by making statements that implied the

 settlement amount. See id. Third, Ms. Barber violated the non-participation clause

 by participating with her attorneys in the solicitation campaign. See id.

              The district court conducted a five-day evidentiary hearing in August

 2017. A substantial majority of the hearing related to the false and disparaging

 comments discussed above. Appellants produced documentary evidence (in the



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 form of detailed soil closure reports) and testamentary evidence (from the

 contractor who oversaw the work), which established that for virtually every home

 built by Ohana, Ohana removed all of the soils around the home prior to

 construction, and replaced them with clean soils. See Ex. C 23–27, 74–75 (Dkt.

 329). The only Ohana-built homes that were not addressed in this way were a

 small and unique 10-home neighborhood that did not have any exceedances and

 another small neighborhood that contained historic preservation homes. See Id. at

 23–27. There is absolutely no evidence that Defendants failed to remove at least

 18 inches of contaminated soil; that Defendants exposed residents to pesticide

 levels that were “20 times higher than EPA safety recommendations”; that

 Defendants exposed residents to “some of the most toxic . . . chemicals known to

 man”; that “living in these contaminated neighborhoods exposes residents, your

 children and pets to much higher lifetime rates of cancer and many other diseases”;

 or any of the other false and disparaging statements made by Ms. Barber.

              This lengthy evidence is not cataloged herein because all of the

 allegations in the PI Motion must be accepted as true for the purposes of a motion

 to dismiss. See Mohamed v. Jeppesen Dataplan, Inc., 614 F.3d 1070, 1073 (9th

 Cir. 2010) (noting that Court must construe all allegations “in the light most

 favorable” to the non-moving party, “taking all their allegations as true and

 drawing all reasonable inferences from the complaint in their favor”) (brackets



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 omitted). However, a summary of the evidence is contained in the DQ Motion at

 6–9, 16–19.

       D.      The District Court’s Order and the Subsequent Appeal

               The Court was close to concluding the evidentiary hearing on the PI

 Motion on its fifth day, but the parties were unable to complete the last witness.

 The Court had a previously scheduled court closure, which required the conclusion

 of the hearing to be scheduled in approximately a month. See Ex. E at 61–62 (Dkt.

 374). However, because the issue of whether Ms. Barber had breached the

 confidentiality provision did not require any further testimony, the Court stated

 that it would issue a ruling on that issue prior to its closure. See id. On August 26,

 2018, the Court issued its order finding that Ms. Barber’s breach of the

 confidentiality provision justified injunctive relief. See Order Granting, in Part,

 Defs.’ PI Motion (Dkt. 341).

               Ms. Barber appealed, making two primary arguments: (1) that,

 according to the language in the parties’ Stipulation for Dismissal, the district

 court’s jurisdiction expired on August 25, 2016; and (2) that there was insufficient

 evidence of irreparable harm stemming from the breach of the confidentiality

 provision. See Memo. Op. (Dkt. 391). The Ninth Circuit ultimately ruled in favor

 of Defendants on the first issue and in favor of Ms. Barber on the second issue.

 See id.



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               On remand, Defendants argued that the focus of the PI Motion had

 been Ms. Barber’s statements in violation of the non-disparagement provision, and

 that the evidentiary hearing should be resumed so that the last witness could be

 completed. See generally Memo. Re: Issues Identified by the Ct. Following

 Remand From the Ninth Cir. (Dkt. 409). Ms. Barber, on the other hand, argued

 that the Ninth Circuit’s holding with respect to Ms. Barber’s breach of the

 confidentiality provision also meant that any breach of the non-disparagement

 provision could not constitute irreparable harm. See Memo. Re: Scope of the

 Ninth Cir. Ct. of Appeals’ Remand and Issues Remaining in the Case at 4–6 (Dkt.

 408). The Court held that Ms. Barber’s interpretation of the Ninth Circuit’s

 Opinion was correct, and denied the PI Motion. See Minute Order (Jan. 10, 2018)

 (Dkt. 412).

       E.      The Second Appeal and Barber II

               Defendants appealed the denial of the PI Motion, arguing that the

 evidence of irreparable harm was much more extensive with respect to the non-

 disparagement provision than the confidentiality provision:

                  The breaches of the non-disparagement provision
                  are much more serious than the breaches of the
                  confidentiality provision and are based on scores
                  of statements made across numerous internet
                  platforms. Hawai‘i law is clear that statements
                  like those made by Ms. Barber constitute
                  irreparable reputational harm as a matter of law.
                  Moreover, it is apparent from the content,


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                 frequency, and nature of these statements, as well
                 as individual’s reactions on Facebook, that they are
                 causing irreparable harm to Defendants’ reputation
                 and business goodwill.

 Opening Brief at 5. Defendants presented significant law and evidence in support

 of this argument. See id. at 43–53.

              The timing of the second appeal put Defendants in a difficult

 situation. Because Ms. Barber’s social media campaign is believed to have begun

 shortly after the parties entered into the settlement agreement in February 2016,

 that date represented a conservative date to use for purposes of calculating the

 statute of limitations. Some of the claims that Defendants had against Ms. Barber

 had a two-year statute of limitations, which meant that Defendants would need to

 file any action against Ms. Barber prior to February 2018 in order to avoid issues

 with the relevant statutes of limitation. If Defendants did not file an independent

 complaint by that date, and if the appeal was not granted, Defendants would

 potentially lose the opportunity to obtain relief related to Ms. Barber’s social media

 campaign. Therefore, Ohana and FCRM filed a Complaint against Ms. Barber on

 January 31, 2018 in Ohana Military Communities, LLC, et al. v. Cara Barber,

 1:18-cv-00042 (“Barber II”). See Ex. F. The Complaint asserts claims for

 defamation, false light, tortious interference with contract, tortious interference

 with prospective economic advantage, and false advertising. Id.




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              The Ninth Circuit issued its ruling on the second appeal on June 25,

 2018. See Memo. Op. (Dkt. 434). It held that “the district court erred when it

 interpreted our prior disposition as holding that the entire record failed to

 demonstrate a likelihood of irreparable harm for all relevant settlement provisions

 instead of limiting our ruling to the confidentiality provision.” Id. at 3. The Ninth

 Circuit further held that, “With this clarification of the scope of our prior

 disposition, we leave it to the district court on remand to consider Defendants’

 preliminary injunction and disqualification motions in the first instance.” Id. at 5.

 III.   ARGUMENT

        A.    Ms. Barber’s Social Media Campaign Has Caused Irreparable
              Harm to Defendants

              It is well-established that statements that negatively impact business

 goodwill and reputation cause harm that is considered “unquantifiable” and

 “irreparable” for the purposes of injunctive relief. MySpace, Inc. v. Wallace, 498

 F. Supp. 2d 1293, 1305 (C.D. Cal. 2007); see, e.g., Rent-A-Center, Inc. v. Canyon

 Television & Appliance Rental, Inc., 944 F.2d 597, 603 (9th Cir. 1991) (“[W]e

 have also recognized that intangible injuries, such as damage to ongoing

 recruitment efforts and goodwill, qualify as irreparable harm.”). Such harm

 frequently serves as a basis for granting injunctive relief. See, e.g., Stuhlbarg Int’l

 Sales Co. v. John D. Brush & Co., 240 F.3d 832, 841 (9th Cir. 2001) (“Evidence of

 threatened loss of prospective customers or goodwill certainly supports a finding of


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 the possibility of irreparable harm.”). Indeed, the Ninth Circuit has already held in

 this case that “damage to reputation can” “support a finding of irreparable harm.”

 Memo. Op. at 3 (Dkt. 391). Here, there is significant evidence that Ms. Barber’s

 statements in violation of the non-disparagement provision harmed Defendants’

 reputations, and, if not enjoined, will continue to irreparably harm Defendants’

 reputations.

                1.      Under Hawai‘i Law, There Is a Presumption That
                        Ms. Barber’s Statements Constitute Irreparable Harm

                Most fundamentally, Hawai‘i law has long recognized that

 reputational harm is presumed for certain categories of statements that constitute

 libel per se. See Murphy v. Maui Pub. Co., 23 Haw. 804, 809 (1917) (upholding

 finding of libel despite admission from plaintiff that “he knows of no business he

 has lost by reason of the alleged libelous publication”); Kahanamoku v. Advertiser

 Pub. Co., 25 Haw. 701, 715 (1920). The libel per se categories include:

                     (1) Libels which impute to a person the
                     commission of a crime.

                     (2) Libels which have a tendency to injure him in
                     his office, profession, calling or trade.

                     (3) Libels which hold him up to scorn and ridicule
                     and to feelings of contempt or execration, impair
                     him in the enjoyment of society and injure those
                     imperfect rights of friendly intercourse and mutual
                     benevolence which man has with respect to man.




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 Partington v. Bugliosi, 825 F. Supp. 906, 915 (D. Haw. 1993) (finding that

 allegation that individual “works for the South African government” was libel per

 se under both the second and third categories because of the “human rights

 violations committed by the South African government”); see also Russell v. Am.

 Guild of Variety Artists, 53 Haw. 456, 458, 497 P.2d 40, 42 (1972) (discussing

 categories of libel per se). Because libel per se establishes reputational harm as a

 matter of law, it satisfies the requirement that there is a likelihood of irreparable

 harm on a motion for preliminary injunction.

              Here, nearly all of Ms. Barber’s disparaging statements fall into the

 second and third categories of libel per se. Defendants’ “profession, calling or

 trade” is developing, managing, and leasing military housing. Ms. Barber’s

 statements go directly to Defendants’ fitness to perform these activities and

 services. See Section II.B, supra. The overarching message Ms. Barber sought to

 convey by these statements is plain: Defendants provide dangerously unsafe

 housing that is unfit to live in. This directly relates to Defendants’ “profession,

 calling or trade.”

              The third category captures statements that damage Defendants’

 standing “in the community at large.” Partington, 825 F. Supp. at 916. The fact

 that Ms. Barber asserts that Defendants are exposing thousands of military service

 members and their families to dangerously unsafe housing is sufficient, by itself, to



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 bring her statements within this category. But Ms. Barber goes even further,

 asserting that Defendants intentionally exposed residents to dangerous hazards for

 the purpose of saving money and increasing profits.3 She simultaneously

 juxtaposes this against the sacrifices made by military service members and the

 unique issues they face.4 By doing so, Ms. Barber is intentionally trying to subject

 Defendants to scorn and ridicule in the community at large—the precise conduct

 the third class of libelous per se statements is designed to prevent.

              In addition, several of Ms. Barber’s statements also fall into the first

 category of statements, as she has accused Defendants of having committed

 criminal violations and “multiple, flagrant violations of public health and

 environmental laws, rules, and regulations.” See, e.g., id. (“Military families are

 the perfect victims of this type of crime.”); PI Ex. 10 at 8 (Dkt. 325-5 ) (“Another

 idea Rebecca Leigh Johnson, might be to pressure the DA to pursue CRIMINAL


 3
   See, e.g., PI Ex. 6 at 31–32 (Dkt. 322) (“Apparently, FC/OMC deemed this
 means of resolution to the contamination problem too costly and time consuming,
 as it would’ve cost tens of millions of dollars and likely caused significant project
 delays.”); PI Ex. 10 at 13 (Dkt. 325-5) (“It’s so wrong and disturbing on so many
 levels be/c corporate profits are prioritized over the health and safety of thousands
 of military children, service members and their families.”).
 4
   See, e.g., PI Ex. 6 at 45 (Dkt. 322) (“Military families deserve much better this.
 Ironically, service members are trained and prepared to protect and defend our
 country, but they’re denied the right to protect their own children and families . . .
 .”); id. at 53 (“Military families are the perfect victims of this type of crime. We
 are trained to follow orders from those exposing us and our families to undisclosed
 and unacceptable health risks.”).


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 CHARGES against them relative to all the laws, rules and regulations FC broke

 and Hunt continues to break.”).

              Because Ms. Barber’s statements satisfy the requirements for libel per

 se, they establish irreparable harm to Defendants’ reputation as a matter of law.

              2.     The Statements Themselves—Including their Content,
                     Audience, and Frequency—Plainly Demonstrate a
                     Likelihood of Irreparable Harm

              Separate and apart from the presumption for libel per se, the context

 and content of the statements themselves also establish that they are likely to cause

 irreparable harm. First, it is plain from the content of the statements that they

 would cause irreparable harm to the reputation of a lessor and manager of

 residential property. See, e.g., Osmose, Inc. v. Viance, LLC, 612 F.3d 1298, 1320

 (11th Cir. 2010) (affirming district court’s finding that defendant’s advertisements,

 on their face, would likely cause irreparable harm because the ads contained

 “serious indictments of the safety of MCQ-treated products that would likely be

 remembered by consumers”); Church & Dwight Co., Inc. v. Clorox Co., 840

 F.Supp.2d 717, 723 (S.D.N.Y. 2012) (“In such circumstances, where the

 misrepresentation is so plainly material on its face, no detailed study of consumer

 reactions is necessary to conclude inferentially that Clorox is likely to divert

 customers from C&D’s products to its own unless the offending commercial is

 enjoined.”); Vecoplan LLC v. Ameri-Shred Corp., 335 F. Supp. 2d 657, 658



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 (M.D.N.C. 2004). It is simply indisputable that falsely claiming that Defendants

 exposed residents to unsafe levels of highly toxic pesticides, caused “much higher”

 rates of cancer, and violated environmental and criminal statutes (among numerous

 other disparaging statements) would cause significant harm to Defendants’

 business reputation and goodwill.

               Second, the audience that Ms. Barber’s statements was directed at

 increased the likelihood of irreparable harm, because the individuals who read the

 statements were current and former service members—i.e., the only customers for

 Defendants’ military housing. The disparaging statements that were made on

 Ms. Barber’s Facebook page were automatically distributed to her more than 1,800

 followers, see Ex. D 23–24 (Dkt. 338), and the disparaging statements she made on

 her blog were automatically distributed to her 1,583 followers, see PI Ex. 6 at 78

 (Dkt. 322).

               Third, the availability and accessibility of the statements also support

 the likelihood that they will cause irreparable harm. All of the comments were

 available on Ms. Barber’s public Facebook page, her public blog, her public

 YouTube account, and her public, free-standing website. Ex. D at 24 (Dkt. 338);

 Ex. A at 14–15, 40–42 (Dkt. 323). Anyone with an Internet connection could

 access any of these sources. See id. Moreover, these sources were easily locatable

 through internet searches. See id.



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              Fourth, the frequency and amount of the statements strongly support

 the likelihood of irreparable harm. See Section II.B, supra.

              Lastly, although Ms. Barber blithely denies it, the disparagement

 campaign was carefully coordinated to coincide with her attorneys’ solicitation

 efforts. See DQ Motion 13–16. The same posts that contained the disparaging

 statements encouraged residents to contact Ms. Barber’s attorneys; encouraged

 current and former residents to file lawsuits against Defendants; and, in some

 cases, even included copies of the solicitation letter. See, e.g., PI Ex. 10 at 1 (Dkt.

 325-5). This careful coordination between the disparaging statements and the

 solicitation campaign further shows the likelihood of irreparable harm by

 encouraging a multitude of new claimants.

              3.     This Is the Rare Case Where There Is Direct Evidence of
                     Reputational Harm

              In addition to the above, the nature of the Facebook platform makes

 this the unique case where there is direct evidence of the impact Ms. Barber’s

 statements had on the goodwill and business reputation of Defendants.

              For instance, on May 11, 2016, Ms. Barber made a Facebook post that

 included the attorney solicitation letter and encouraged individuals to contact

 Ms. Barber’s attorneys and file lawsuits against Defendants. See id. at 1. In the

 numerous pages of comments related to the May 11 post, Ms. Barber repeated

 many of the disparaging statements, such as claiming:


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              • Defendants had broken “rules, regulations and laws,” id. at 6;

              • Defendants caused “thousands of young, military families to be
                exposed to much higher rates of cancer and other diseases,” id.
                at 6;

              • “Evidence (testing, etc.) proves that at the VERY LEAST,
                contamination levels are 20 TIMES HIGHER THAN EPA
                SAFETY RECOMMENDATIONS[,]” id. at 8;

              • individuals should “pursue CRIMINAL CHARGES against
                [Defendants] relative to all the laws, rules and regulations FC
                broke,” id.at 8;

              • “Instead of removing 18 inches of highly contaminated topsoil
                from hundreds of acres of all these contaminated
                neighborhoods . . . Forest City asked Hawaii Dept of Health
                (HDOH) to permit unusually high contamination levels,” id. at 11;

              • “AT BEST current contamination levels are expected to be at least
                20 times higher than EPA safety recommendations,” id. at 12;

              • “unusually high contamination levels remain in these
                neighborhoods to this day that pose serious, lifetime health risks to
                residents and, most especially, their children,” id. at 13;

              • “The laws, rules and regulations to protect human health in
                residential neighborhoods are NOT ENFORCED in these
                contaminated, residential neighborhoods on federal lands,” id. at
                13;

              • “Leaving contamination levels 20 times higher in residential
                neighborhoods . . . is absurd!” Id. at 13.

 The comments from Ms. Barber’s followers demonstrate that her statements had

 the desired effect—they portrayed Defendants in a highly negative light and

 adversely impacted Defendants’ reputation. Readers of these statements expressed

 their decision to file lawsuits against Defendants, id. at 10; expressed their


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 concerns that their health issues were caused by Defendants, id. at 4, 9, 10; shared

 the post with numerous other Facebook users, see generally id. at 1–16; and made

 numerous other comments that demonstrated harm to Defendants’ business

 reputation and goodwill, see generally id. (“Man o man!”; “[I]s Hunt Properties

 aware of this bag of crap they purchased from FC??”; “the problem with the soil

 has not been fixed”; “I hate this for you Sarah!!!”; “This is so sad”; “have you seen

 this?!”; “Oh gosh! How awful!!”; “Terribly sad. I can not believe FC would not

 disclose.”; “Im so glad for social media and forums like this because after reading

 so much about this issue, makes me want to completely decline living on base.”; “I

 would not live on base if you can help it.”).

              In another post, on May 8, 2016, Ms. Barber commented: “The basic

 truths are these neighborhoods are contaminated and this contamination exposes all

 residents, their children and pets to significantly increased health and exposure

 risks.” PI Ex. 8 at 1 (Dkt. 325-3). Ms. Barber then encouraged her followers to

 contact her attorneys. The damage to Defendants’ reputation is clear from the

 ensuing comments, such as Jessica Koth, who stated that “reading all of what’s

 gone on there at MCBH makes me extremely concerned” and “I don’t trust these

 companies.” Id. at 2. Heidi Zimmermann stated that she was “[f]ollowing this

 very closely” and noted that she was becoming concerned about other Forest City

 properties outside of Hawai‘i. See id. Brett McGinn asked what “current



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 residents” could do to “keep an eye” on Defendants. Id. at 3. And to be clear, the

 comments to these two posts are simply examples—other posts similarly

 demonstrate the harm to Defendants’ reputation.

              In summary, there is substantial evidence that Ms. Barber’s comments

 created a likelihood of irreparable harm, including the presumption of reputational

 harm created by Hawai‘i’s law governing libel per se; the content, nature, and

 context of the statements; and the reactions of Ms. Barber’s Facebook followers.

 Tellingly, Ms. Barber does not even attempt to argue that these statements do not

 cause irreparable harm to Defendants’ reputation.

       B.     The Cases Cited by Ms. Barber Do Not Support Her Contention
              That Injunctive and Monetary Relief Are Mutually Exclusive

              Ms. Barber fails to cite any case law supporting her argument that a

 party cannot simultaneously seek injunctive and monetary relief. The case law she

 cites merely illustrates the general rule that economic injury alone may be

 insufficient to obtain injunctive relief.

              For instance, Ms. Barber cites American Promotional Events, Inc. v.

 City & County of Honolulu, 796 F.Supp.2d 1261 (D. Haw. 2011), for the

 proposition that: “The inherent inconsistency between a party seeking injunctive

 relief and monetary damages for the same alleged conduct has been noted by this

 court in several prior cases.” MTD at 7. But American Promotional did not say

 that the two forms of relief are mutually exclusive. In that case, a fireworks


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 company brought a preliminary injunction motion to enjoin a new ordinance that

 banned certain fireworks. See id. at 1264. The Court began its analysis of

 irreparable harm by noting that “[t]he primary injuries alleged by Plaintiff relate to

 monetary harm”—namely, a warehouse it would no longer need. Id. at 1283. The

 Court did not then immediately stop its analysis because monetary damages

 necessarily excluded injunctive relief. Rather, the court went on to analyze

 whether, despite the fact that plaintiff was primarily seeking monetary relief, there

 was nevertheless sufficient evidence of irreparable harm to also justify injunctive

 relief. See id. at 1283–84. In so doing, the Court noted that loss of reputation and

 goodwill can be considered irreparable harm. See id. (“Injuries to goodwill and

 business reputation are generally considered to be intangible and, as a result,

 irreparable.”). But because the plaintiff in American Promotional did not produce

 evidence of loss of goodwill or harm to business reputation, the Court did not find

 irreparable injury. See id. at 1284.

              The other cases cited by Ms. Barber similarly fail to support her claim

 that “case law clearly prohibits a party from seeking injunctive relief and

 simultaneously pursuing monetary damages.” MTD at 5. Instead, the cases

 merely emphasize the general rule that economic injury alone is insufficient to find

 irreparable harm. Moreover, in nearly every one of these cases the plaintiff sought

 both monetary relief and injunctive relief. The courts did not consider the fact that



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 plaintiff sought monetary relief to be a bar to injunctive relief; instead, the courts

 considered whether plaintiff had made a sufficient showing of irreparable harm in

 addition to monetary damages. See, e.g., Hi-Tech Rockfall Constr., Inc. v. County

 of Maui, No. CV08-00081 DAE-LEK, 2008 WL 659789, at *8–9 (D. Haw. Mar.

 11, 2008) (cited by MTD at 8 n.16) (finding that plaintiff “ha[d] demonstrated a

 possibility of irreparable harm” despite the fact that plaintiff could recover

 monetary damages related to the cost of bid preparation; ultimately denying

 injunctive relief based upon public interest exception); Goldie’s Bookstore, Inc. v.

 Sup. Ct. of State of Cal., 739 F.2d 466, 467–68 (9th Cir. 1984) (cited by MTD at 8

 n.15) (reversing injunction where plaintiff alleged economic injury but failed to

 include “any factual allegations” related to loss of goodwill); Colorado River

 Indian Tribes v. Town of Parker, 776 F.2d 846, 850–51 (9th Cir. 1985) (MTD at 8

 n.15) (denying injunctive relief where “economic loss [was] the only type of harm

 that [movant] might possibly suffer”).

               Because Defendants have alleged irreparable injuries stemming from

 Ms. Barber’s wrongful conduct over and above economic injuries, see

 Section III.A, supra, these cases are inapposite and do not support Ms. Barber’s

 assertions.




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       C.     There Is Nothing Inconsistent or Improper About Seeking
              Injunctive Relief In This Action and Damages in Barber II

              1.     Barber II Was Necessitated by the Unique Procedural
                     Posture of This Case and the Court’s Limited Jurisdiction

              Defendants filed the PI Motion as soon as they learned of

 Ms. Barber’s new social media campaign. They sought injunctive relief in this

 Court because Defendants believed that the Court’s experience with the putative

 class action put the Court in the best position to enforce the terms of the parties’

 settlement agreement and stop the highly damaging social media campaign.

 Unfortunately, the relief sought by Defendants was delayed by the two appeals,

 and the timing of the second appeal put Defendants in a difficult situation.

 Because Ms. Barber’s social media campaign is believed to have begun shortly

 after the parties entered into the settlement agreement in February 2016, see PI Ex.

 P (ECF. No. 290), that date represented a conservative date to use for purposes of

 calculating the statute of limitations. Some of the claims that Defendants had

 against Ms. Barber had a two-year statute of limitations, which meant that

 Defendants would need to file any action against Ms. Barber prior to February

 2018 in order to avoid issues with the relevant statutes of limitation. See, e.g.,

 Haw. Rev. Stat. § 657-4 (“All actions for libel or slander shall be commenced

 within two years after the cause of action accrued, and not after.”).




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                This Court dismissed the PI Motion on January 10, 2018. See Minute

 Order (Jan. 10, 2018) (Dkt. 412). Although Defendants knew they would appeal

 that decision, they also knew that the results of that appeal would not be available

 prior to February 2018, which was then just three weeks away. (In fact, the Ninth

 Circuit’s decision was not issued until June 25, 2018, more than two years after

 Ms. Barber had begun the social media campaign. See Memo. Op. (Dkt. 434).) If

 Defendants had not filed a new complaint against Ms. Barber, Defendants risked a

 situation where they had no way to address Mrs. Barber’s social media campaign.

 Therefore, on January 31, 2018, Defendants initiated Barber II. See Ex. F

 (Complaint).

                In order to ensure that there was no duplication of claims between the

 PI Motion and the new action, the Complaint in Barber II did not assert any claims

 based upon the Settlement Agreement and did not seek injunctive relief. Instead,

 Defendants sought damages for those aspects of Ms. Barber’s misconduct that

 were compensable. For instance, after Ms. Barber’s social media campaign,

 Defendants spent significant amounts sampling and testing the soils at MCBH to

 confirm that none of the soils contained organo-chlorinated pesticides above Tier 1

 Environmental Action Levels.5 Ohana and FCRM limited the relief they sought in


 5
  This testing confirmed that all samples were below Tier 1 Environmental Action
 Levels (“EALs”). Tier 1 EALs are screening levels that are so low that sites with
 OCPs at these levels are considered safe for all circumstances without any further

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 the second action to monetary damages because Defendants were already seeking

 injunctive relief in this action, not because Defendants believed injunctive relief

 was no longer proper and not because Defendants were giving up on injunctive

 relief.

              2.     Courts Regularly Award Damages and Injunctive Relief for
                     the Same Underlying Conduct

              It is not inconsistent to seek both injunctive and monetary relief given

 that the two types of relief can compensate for distinct harms. Monetary damages,

 for example, may compensate for past harms while an injunction can prevent

 future harm. Numerous courts have recognized the availability of both remedies,

 including in separate actions. Indeed, even the cases cited by Ms. Barber

 recognized the possibility of awarding both monetary and injunctive relief for the

 same underlying conduct. See Section III.B, supra.

              The Seventh Circuit’s decision in Matter of Hallahan, 936 F.2d 1496

 (7th Cir. 1991), is instructive. There, the Seventh Circuit affirmed an award of

 monetary damages in a second action following a grant of injunctive relief in a

 prior action. See id. at 1499. Nelson Hallahan sold insurance policies for NIS

 Corporation (“NIS”), and entered into a non-compete agreement with his


 analysis or remediation. See DOH, Evaluation of Environmental Hazards, Vol. 1,
 §§ 2.1, 2.4.1 (Fall 2011; rev. Jan. 2012) available at http://eha-
 web.doh.hawaii.gov/eha-cma/documents/8935e423-25fb-46b9-adaa-
 fc0a207d5518.


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 employer. See id. at 1498. After NIS terminated Mr. Hallahan and he began

 working for a competitor, NIS’s parent company brought an action in federal court

 seeking a permanent injunction based on the non-compete agreement. See id. at

 1499. The federal court enjoined Mr. Hallahan from selling certain policies. See

 id. Mr. Hallahan later filed for bankruptcy in Illinois, and NIS filed a proof of

 claim seeking to recover money damages based on the same conduct that the first

 action was based upon. See id. After a trial on damages, the bankruptcy court

 awarded over $200,000 in damages for lost profits, as well as attorneys’ fees. See

 id. The Seventh Circuit affirmed:

                 As a preliminary matter, we dispose of Hallahan’s
                 argument that plaintiffs cannot pursue this suit for
                 money damages after having obtained injunctive
                 relief from the federal district court in the Western
                 District of Missouri. . . . [T]his suit does not
                 threaten to compensate plaintiffs twice for the
                 same wrong, in violation of the doctrine of the
                 election of remedies. In Missouri, plaintiffs
                 obtained an injunction preventing Hallahan from
                 future breaches of the covenant not to solicit. In
                 bankruptcy court, they sought monetary damages
                 for breaches which had occurred prior to issuance
                 of the preliminary injunction. The election of
                 remedies doctrine does not prevent a party who has
                 obtained an injunction covering one period of time
                 to seek damages for injuries inflicted before the
                 injunction took effect.

 Id. at 1499 n.2 (citations omitted; emphasis added).




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              Hawai‘i law is in accord. For instance, in Pelosi v. Wailea Ranch

 Estates, 91 Hawai‘i 478, 985 P.2d 1045 (1999), plaintiff lot owner sued developer

 claiming that certain restrictive covenants prohibited the construction of

 developer’s tennis court. See id. at 482, 985 P.2d at 1049. After a series of

 proceedings and appeals, the Hawai‘i Supreme Court concluded that plaintiff

 should have been awarded both nuisance damages and injunctive relief. See id. at

 492–93, 985 P.2d at 1059–60.

                 “It is well established that, in a jury trial of an
                 action seeking equitable and legal remedies, the
                 jury decides legal questions and awards
                 legal damages and the court decides equitable
                 questions and awards equitable relief.” In the
                 present matter, the jury awarded [plaintiff] Pelosi
                 $20,000 for damages he had already suffered. An
                 injunction would be awarded to enjoin the
                 defendants from any future breach. The individual
                 defendants’ caution against double recovery is,
                 therefore, unfounded.

 Id. at 4493, 985 P.2d at 1060 (citations omitted; italics in original); see also Airgo,

 Inc. v. Horizon Cargo Transp., Inc., 66 Haw. 590, 593, 670 P.2d 1277, 1280

 (1983) (“The injunction to compel performance of the contract clearly did not bar a

 claim for damages because of breaches of it.”). Numerous other courts have also




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 recognized that awarding damages and injunctive relief based upon the same

 underlying conduct does not constitute double recovery.6

              Here, Ms. Barber has not even attempted to explain how awarding

 injunctive relief in this action and damages in Barber II would constitute

 duplicative remedies. In this action, Defendants seek injunctive relief that would

 require Ms. Barber to remove the social media posts at issue and refrain from re-

 posting them in the future. This would necessarily protect Defendants from future

 harm caused by the posts, but would not remedy any harm caused during the time

 period that the posts were online. As the numerous cases cited herein make clear,

 Defendants are permitted to recover damages for that harm.



 6
   See, e.g., Teutscher v. Woodson, 835 F.3d 936, 956–57 (9th Cir. 2016) (“There
 are several ways in which [the plaintiff] likely could have pursued legal and
 equitable relief at the same time. Among them, he could have pursued only back
 pay from the jury and sought a forward-looking remedy only from the court in
 equity.”) (emphasis added); TMRJ Holdings, Inc. v. Inhance Techs., LLC, 540
 S.W.3d 202, 208–09 (Tex. App. 2018) (holding that award of royalty damages and
 grant of permanent injunction were not duplicative remedies) (“[A] damages award
 that compensates a plaintiff for past damages combined with [injunctive] relief to
 prevent future damages does not constitute a double recovery.”) (emphasis added);
 Pinnacle Healthcare, LLC v. Sheets, 17 N.E.3d 947, 954–45 (Ind. Ct. App. 2014)
 (recognizing that “money damages and injunctive relief serve different purposes”
 and that the “injunctive remedy was meant to prevent future violations of the
 agreement”) (citations omitted and emphasis added); Brighton Collectibles, Inc. v.
 Marc Chantal USA, Inc., No. 06-CV-1584 H (POR), 2009 WL 10674087, at *2–3
 (S.D. Cal. May 12, 2009) (granting motion for permanent injunction after jury
 verdict and award of damages) (“Though Brighton was awarded substantial
 damages, the Court recognizes that compensatory damages cannot protect against
 the threat of future infringement.”) (emphasis added).


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       D.     Ms. Barber Has Misrepresented the Hearing on the Motion to
              Dismiss in Barber II

              Ms. Barber filed a motion to dismiss Barber II, arguing that the claims

 were barred by res judicata because this Court denied the PI Motion. See Ex. G.

 In opposition, Defendants argued, among other things, that a denial of a

 preliminary injunction motion is not a decision on the merits for the purposes of

 res judicata. See Ex. H. The Court denied the motion to dismiss, noting that “the

 claims in Plaintiffs’ Complaint in this action could not have been properly litigated

 in Barber I because, at that point, the district court lacked jurisdiction to adjudicate

 such claims.” See Ex. I at 9.

              In the current motion, Ms. Barber places great import on answers that

 Defendants’ counsel gave during the hearing on the motion to dismiss. Ms. Barber

 claims that, at the hearing, “OMC argued . . . that it could bring a new action for

 damages for alleged defamation because this Court had not yet ruled on the motion

 for preliminary injunction and because OMC was now seeking damages for its

 [sic] Barber’s alleged defamatory comments rather than an injunction.” Mot. at 9

 (emphasis added). This is false—counsel never stated that Ohana or FCRM were

 seeking damages and giving up on injunctive relief. The statement made by

 counsel was that Ohana and FCRM were exclusively seeking damages in

 Barber II, not that Ohana and FCRM were abandoning the PI Motion. See, e.g.,

 MTD, Ex. 1 at 15:11–14 (“I could look through the complaint, but, Your Honor, if


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 you look at the prayer for [] relief, we’re seeking monetary damages here. We’re

 certainly on the record now as having stated that.”) (emphasis added). At the

 hearing, Defendants made clear that they were continuing to pursue the PI Motion

 and that they intended to “complete the preliminary injunction proceeding.” See

 id. at 14:24–15:2.

              Ms. Barber also places great emphasis on the fact that “Mr. Whattoff

 argued OMC was allowed to bring its New Complaint in reliance on caselaw

 where the party had lost its preliminary injunction.” Mot. at 11 (italics original).

 Ms. Barber argues: “[T]he specific legal argument advanced by OMC to support

 the New Complaint was a situation where the underlying preliminary injunction

 was denied, which then allowed the party to pursue its arguments for damages.”

 Id. at 11–12. This is a non sequitur. Ms. Barber’s motion to dismiss Barber II was

 based on her argument that this Court’s denial of the PI Motion should be given res

 judicata effect. To counter this argument, Defendants cited cases where motions

 for preliminary injunction were not given res judicata effect (because they are

 “preliminary” orders and not decisions on the merits). The fact that the two cases

 cited by Defendants happened to be denials was not relevant.

              For example, Defendants cited to Air Terminal Services, Inc. v.

 Lehigh-Northampton Airport Auth., No. CIV. A. 96-2314, 1996 WL 460059, at

 *4–5 (E.D. Pa. Aug. 1, 1996) (see MTD, Ex. 1 at 10:19–11:12), in which the court



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 examined whether the initial preliminary injunction proceedings could preclude a

 later second action for damages such that res judicata would apply. In doing so,

 the court focused on whether there was a previous final judgment on the merits.

 It’s holding was not contingent on the outcome of the underlying injunction

 proceedings:

                However, equitable relief can have a res judicata effect
                upon subsequent actions at law only when a valid and
                final judgment on the merits was entered in the previous
                action. In Consolidation Coal, the Superior Court found
                that the granting of a preliminary injunction is not a
                judgment on the merits and, therefore, has no preclusive
                effect on a subsequent action for damages. This court
                finds that the denial of the preliminary injunction in this
                case does not serve as a final judgment on the merits.

 1996 WL 460059, at *4 (citations omitted; emphasis added). Similarly, I.H.T.

 Corp. v. News World Communications, Inc., No. 83 CIV. 3862-CSH, 1984 WL

 604, at *3 (S.D.N.Y. July 3, 1984), recognized that findings at the preliminary

 injunction stage—whether they be a grant or denial—are not a final judgment for

 purposes of res judicata: “Because a decision to deny or grant temporary equitable

 relief is, by its very nature, interlocutory, tentative, provisional, ad interim,

 impermanent, mutable, not fixed or final or conclusive, characterized by its for-

 the-time-beingness, . . . such a decision generally has no collateral estoppel

 effect[.]” Id. at *3 (citation and quotation marks omitted; emphasis added).




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       E.     Judicial Estoppel Is Wholly Inapplicable

              Finally, Ms. Barber’s arguments relating to judicial estoppel should be

 quickly rejected. See MTD at 13. “The doctrine of judicial estoppel serves to bar

 a party from taking a position in a subsequent lawsuit that is inconsistent with a

 position it took in a previous lawsuit.” Ito v. Inv’rs Equity Life Holding Co., 135

 Hawai‘i 49, 74, 346 P.3d 118, 143 (2015). As the cases cited by Ms. Barber make

 clear, “[j]udicial estoppel must be applied with caution and in the narrowest of

 circumstances.” Lamonds v. Gen. Motors Corp., 34 F.Supp.2d 391, 394 (W.D. Va.

 1999) (cited in MTD at 14 n.25) (emphasis added). The doctrine is aimed at

 preventing the prejudice caused to one party by another’s wholly inconsistent

 approaches. See Roxas v. Marcos, 89 Hawai‘i 91, 152 n.19, 969 P.2d 1209, 1270

 n.19 (1998) (“[T]he doctrine of judicial estoppel does not apply unless the changed

 argument prejudices the opposing party. . . . In other words, a party is free to

 plead inconsistent claims or defenses within a single action, but a party is

 precluded from subsequently repudiating a theory of action that has been accepted

 and acted upon by the court or that has otherwise detrimentally affected the

 opposing party.”) (italics original; citations, brackets and quotation marks omitted);

 see also Burmeister v. County of Kaua‘i, No. CV 16-00402 LEK-KJM, 2018 WL

 2392499, at *4 (D. Haw. May 25, 2018) (“Judicial estoppel does not apply because

 the County’s prior argument was not accepted and acted upon by the Court.”).



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              Initially, there is no credence to Ms. Barber’s claims that Defendants

 have taken inconsistent positions. Defendants have never made a “judicial

 admission” that their sole remedy could be money damages and that they would be

 foregoing injunctive relief. To the contrary, Defendants have always maintained

 that they are seeking injunctive relief in this action and monetary relief in

 Barber II. As discussed above, it is permissible and common to seek (and possibly

 ultimately obtain) alternative forms of relief, including injunctive and monetary

 relief. This is especially true here, given that it would have been impossible to

 seek monetary relief in this action given the Court’s limited jurisdiction. See

 Memo. Op. (Dkt. 391).

              This case is nothing like the cases cited by Ms. Barber, where the

 parties took inconsistent positions as to the underlying facts or the circumstances,

 to the other party’s substantial detriment. See, e.g., Roxas, 89 Hawai‘i at 124, 969

 P.2d at 1242 (“By means of her stipulation in this case, Imelda accepted the benefit

 of maintaining full control over the defense of the Marcos Estate, in which she had

 a substantial interest. Now that the plaintiffs-appellees have prevailed against the

 estate, Imelda argues that she was without authority to act as she did in proffering

 and entering into the stipulation. In other words, she now claims that because of

 her wrongful act of holding herself out as a proper party for substitution, the




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 plaintiffs-appellees should now be stripped entirely of their judgment.”).

 Accordingly, the doctrine of judicial estoppel has no application here.

 IV.   CONCLUSION

              For all the foregoing reasons, Defendants respectfully request that this

 Court deny Ms. Barber’s Motion.

              DATED: Honolulu, Hawai‘i, August 16, 2018.

                                      /s/ Randall C. Whattoff
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